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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 §
VS.                                              §   CRIMINAL NO. H-09-029
                                                 §
                                                 §
SUZANNE VOELKER                                  §



                                          ORDER

       Defendant Voelker filed an unopposed motion for continuance, (Docket Entry No.

39). The court finds that the interests of justice are served by granting this continuance and

that those interests outweigh the interests of the public and the defendant in a speedy trial.

The motion for continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                   August 3, 2009
       Responses are to be filed by:                 August 17 2009
       Pretrial conference is reset to:              August 24, 2009, at 8:45 a.m.
       Jury trial and selection are reset to:        August 31, 2009, at 9:00 a.m.


              SIGNED on June 17, 2009, at Houston, Texas.

                                                ______________________________________
                                                           Lee H. Rosenthal
                                                      United States District Judge
